                  Case 23-11069-CTG              Doc 747       Filed 10/03/23        Page 1 of 2




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    YELLOW CORPORATION, et al.,1                                    )    Case No. 23-11069 (CTG)
                                                                    )
                              Debtors.                              )    (Jointly Administered)
                                                                    )
                                                                    )    Re: Docket No. 608

                  ORDER APPROVING THE JOINT STIPULATION
               BY AND AMONG THE DEBTORS AND GARY W. GIBBY
      TO (I) EXTEND THE DEADLINE TO RESPOND TO MOTION TO LIFT THE
    AUTOMATIC STAY AND (II) EXTEND THE HEARING DATE RELATED THERETO

             Upon the Certification of Counsel Regarding the Joint Stipulation By and Among the

Debtors and Gary W. Gibby to (I) Extend the Deadline to Respond to Motion to Lift the Automatic

Stay and (II) Extend the Hearing Date Related Thereto (the “Certification of Counsel”) and

the Joint Stipulation By and Among the Debtors and Gary W. Gibby to (I) Extend the Deadline to

Respond to Motion to Lift the Automatic Stay and (II) Extend the Hearing Date Related Thereto
                        2
(the “Stipulation”), by and between the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) and Gary W. Gibby (the “Movant,” and together with the Debtors,

the “Parties”), attached to this order (this “Order”) as Exhibit 1; and the district court having

jurisdiction under 28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157

pursuant to the Amended Standing Order of Reference from the United States District Court for




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal place
      of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Stipulation.



DOCS_DE:245159.1 96859/001
                Case 23-11069-CTG         Doc 747      Filed 10/03/23      Page 2 of 2




the District of Delaware, dated February 29, 2012; and that this Court may enter a final order

consistent with Article III of the United States Constitution; and this Court having found that venue

of this proceeding and the Stipulation in this district is proper pursuant to 28 U.S.C. §§ 1408 and

1409; and this Court having reviewed the Stipulation; and this Court having determined that the

legal and factual bases set forth in the Stipulation establish just cause for the relief granted herein;

and upon all of the proceedings had before this Court; and after due deliberation and sufficient

cause appearing therefor, it is HEREBY ORDERED THAT:

        1.       The Stipulation is approved.

        2.       The Stipulation shall be effective immediately upon entry of this Order.

        3.       The Response Deadline for the Debtors and all other parties in interest to respond

to the Motion is extended through and including October 12, 2023 at 4:00 p.m. (ET).

        4.       The entry of this Stipulation and Order is without prejudice to any other party’s

right to respond to the Motion.

        5.       The Parties may mutually agree to further extensions of the response deadline

and/or hearing date by filing a notice with the Court reflecting such extensions.

        6.       The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order and to consummate the Stipulation.

        7.       The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order and the Stipulation.




 Dated: October 3rd, 2023                           CRAIG T. GOLDBLATT
 Wilmington, Delaware                               UNITED STATES BANKRUPTCY JUDGE




DOCS_DE:245159.1 96859/001
